 

Case 17-32081-bjh13 Doc 9 Filed 05/30/17 Entered 05/30/17 09:59:33 Page 1 of 2
BTXN 094 (rev. 5/04)

UNITED STATES BANKRUPTCY COURT
NORTHERN DlSTRlCT OF TEXAS

§
l“ Re: Matthew Bateman §
§ Case No.: l ?-';Z_O% l
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Debtor(s) §
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sArii<.nL)r:ig: couF\'f
VERIFICATION OF MAILING LIST mom"ggu D¢.»;~\’mc- »

The Debtor(s) certifies that the attached mailing list (0nly one option may be selected per
form):
l is the first mail matrix in this case.
l'_`l adds entities not listed on previously filed mailing list(s).
l:l changes or corrects name(s) and address(es) on previously filed mailing list(s).

l:l deletes name(s) and address(es) on previously filed mailing list(s).

In accordance with N.D. TX L.B.R. 1007.1, the above named Debtor(s) hereby verifies
that the attached list of` creditors is true and correct.

 

 

 

 

05/30/2017
Date Signature of Attomey (if` applicable)
W *3252
Signature'of Debtor Debtor’s Social Security (last four digits only) fl` ax lD No.

 

 

Signature of`Joint Debtor (if applicable) Joint Debtor’s Social Security (last four digits only) /T ax lD No.

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CREDITOR MAILING LIST

l.TD Finance
PO Box 9223
Farmington, MI 48333

2. Great Lake Student Loans
2401 International Lane

PO Box 7859

Madison, WI 53704

3. Verizon Wireless
PO Box 26055
Minneapolis, MN 55426

4. Amco Systems
PO Box 21625
Columbia, SC 29221

5. Capital One
PO Box 30281
Saltlake City, UT 84130

